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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:17-cv-00045-CMA-KLM

   STEPHANIE LOPEZ, individually,

          Plaintiff,

   v.

   CARL EDWARDS, individually, and
   CASPER TRAILER SALES, INC., a Colorado Corporation,

          Defendants.


        DEFENDANTS’ ANSWER TO SECOND AMENDED COMPLAINT AND
                           JURY DEMAND


          Defendants Carl Edwards and Casper Trailer Sales, Inc.1 by and through their

   undersigned counsel, answer Plaintiff’s Second Amended Complaint and Jury Demand

   as follows:

                                      FIRST DEFENSE
                                    (Answer to Complaint)

   1.     Defendants admit the allegation in ¶ 1 of Plaintiff’s Second Amended Complaint

   that jurisdiction over the first cause of action is conferred by 18 U.S.C. § 1331 and deny

   the allegation in ¶ 1 of Plaintiff’s Second Amended Complaint that jurisdiction over the

   second cause of action is conferred by 18 U.S.C. § 1331.

   2.     Defendants admit the allegations contained in ¶ 2 of Plaintiff’s Second Amended

   Complaint.
   1
     CASPER TRAILER SALES, INC. is the official name of the company in all capitals,
   referred to herein as Casper Trailer Sales, Inc.
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   3.    Defendants admit the allegations contained in ¶ 3 of Plaintiff’s Second Amended

   Complaint.

   4.    Defendants admit the allegations contained in ¶ 4 of Plaintiff’s Second Amended

   Complaint.

   5.    In response to allegations contained in ¶ 5 of Plaintiff’s Second Amended

   Complaint, Defendants incorporate their responses to ¶¶ 1 to 4 above as if fully restated

   herein.

   6.    Defendants admit the allegations contained in ¶ 6 of Plaintiff’s Second Amended

   Complaint.

   7.    Defendants admit the allegation in ¶ 7 of Plaintiff’s Second Amended Complaint

   that Casper Trailer Sales, Inc. had more than $500,000 in gross receipts in 2014 and

   2015. Defendants have insufficient knowledge or information to admit or deny the

   allegation in ¶ 7 as it pertains to 2016 as those taxes were only recently prepared and

   therefore to the extent a response is required, Defendants deny the allegations

   contained in ¶ 7 of Plaintiff’s Second Amended Complaint.

   8.    Defendants admit the allegations contained in ¶ 8 of Plaintiff’s Second Amended

   Complaint.

   9.    Defendants admit the allegation contained in ¶ 9 of Plaintiff’s Second Amended

   Complaint that at all times relevant to the Complaint, Carl Edwards acted directly and

   indirectly in the interests of Casper Trailer Sales, Inc. in relation to his employees,

   including Plaintiff while she was an employee, by setting their rate of pay, method of

   compensation, and determining their hours worked and whether to pay overtime and
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   minimum wage. Defendants deny the remaining allegations contained in ¶ 9 of Plaintiff’s

   Second Amended Complaint.

   10.   Defendants admit the allegation contained in ¶ 10 of Plaintiff’s Second Amended

   Complaint that Carl Edwards was Plaintiff’s employer from May 25, 2015 to March 7,

   2016 within the meaning of 29 U.S.C § 203(d). Defendants deny the remaining

   allegations contained in ¶ 10 of Plaintiff’s Second Amended Complaint.

   11.   Defendants admit the allegation contained in ¶ 11 of Plaintiff’s Second Amended

   Complaint that Caspar Trailer Sales, Inc. was Plaintiff’s employer from May 25, 2015 to

   March 7, 2016 within the meaning of 29 U.S.C § 203(d) and C.R.S. § 8-4-101(6).

   Defendants deny the remaining allegations contained in ¶ 11 of Plaintiff’s Second

   Amended Complaint.

   12.   On information and belief, Defendants admit the allegation contained in ¶ 12 of

   Plaintiff’s Second Amended Complaint that Plaintiff grew up in the San Luis Valley of

   Colorado and that Plaintiff lost her parents at a relatively young age. Defendants have

   insufficient knowledge or information to admit or deny the remaining allegations in ¶ 12

   of Plaintiff’s Second Amended Complaint. To the extent a response is required,

   Defendants deny the allegations contained in ¶ 12 of Plaintiff’s Second Amended

   Complaint.

   13.   Defendants deny the allegations contained in ¶ 13 of Plaintiff’s Second Amended

   Complaint.

   14.   Defendants deny the allegations contained in ¶ 14 of Plaintiff’s Second Amended

   Complaint.
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   15.   Defendants admit the allegations contained in ¶ 15 of Plaintiff’s Second

   Amended Complaint that Plaintiff worked as part of the pit crew during her employment.

   Defendants deny the allegations contained in ¶ 15 of Plaintiff’s Second Amended

   Complaint that Plaintiff was an RV Technician. Defendants have insufficient knowledge

   or information to admit or deny the remaining allegations in ¶ 15 of Plaintiff’s Second

   Amended Complaint. To the extent a response is required, Defendants deny the

   allegations contained in ¶ 15 of Plaintiff’s Second Amended Complaint.

   16.   Defendants deny the allegations contained in ¶ 16 of Plaintiff’s Second Amended

   Complaint.

   17.   Defendants admit the allegations contained in ¶ 17 of Plaintiff’s Second

   Amended Complaint that Defendants began paying Plaintiff cash wages in late May

   2015. Defendants deny the remaining allegations contained in ¶ 17 of Plaintiff’s Second

   Amended Complaint.

   18.   Defendants deny the allegations contained in ¶ 18 of Plaintiff’s Second Amended

   Complaint.

   19.   Defendants admit the allegations contained in ¶ 19 of Plaintiff’s Second

   Amended Complaint that Plaintiff typically took a meal break of between one-half hour

   and one hour. Defendants deny the remaining allegations contained in ¶ 19 of Plaintiff’s

   Second Amended Complaint.

   20.   Defendants deny the allegations contained in ¶ 20 of Plaintiff’s Second Amended

   Complaint.
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   21.    Defendants deny the allegations contained in ¶ 21 of Plaintiff’s Second Amended

   Complaint.

   22.    Defendants deny the allegations contained in ¶ 22 of Plaintiff’s Second Amended

   Complaint.

   23.    Defendants admit the allegations contained in ¶ 23 of Plaintiff’s Second

   Amended Complaint that that Plaintiff was paid for the hours she worked in 2015.

   Defendants deny the remaining allegations contained in ¶ 23 of Plaintiff’s Second

   Amended Complaint.

   24.    Defendants admit the allegations contained in ¶ 24 of Plaintiff’s Second

   Amended Complaint that that Plaintiff was paid for the hours she worked in 2016.

   Defendants deny the remaining allegations contained in ¶ 24 of Plaintiff’s Second

   Amended Complaint.

   25.    Defendants admit the allegations contained in ¶ 25 of Plaintiff’s Second

   Amended Complaint but deny that Plaintiff was entitled to minimum wage in 2014,

   certain weeks of 2015 (March 1, 2015-May 27, 2015) and 2016 (March 7, 2016-April 20,

   2016) and further deny that Plaintiff has filed a claim alleging violation of state minimum

   wage requirements.

   26.    Defendants admit the allegations contained in ¶ 26 of Plaintiff’s Second

   Amended Complaint, but deny that Plaintiff was Defendants’ employee when she was

   not on payroll.
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   27.     Defendants admit the allegations contained in ¶ 27 of Plaintiff’s Second

   Amended Complaint, but deny that Plaintiff was Defendants’ employee when she was

   not on payroll.

   28.     Defendants admit the allegations contained in ¶ 28 of Plaintiff’s Second

   Amended Complaint that Carl Edwards was aware of federal overtime requirements.

   Defendants deny the remaining allegations contained in ¶ 28 of Plaintiff’s Second

   Amended Complaint to the extent they do not accurately reflect those requirements.

   29.     Defendants admit the allegations contained in ¶ 29 of Plaintiff’s Second

   Amended Complaint that Carl Edwards saw employees clocked out around 4:30 p.m. so

   they would not be owed unpaid overtime. Defendants deny the remaining allegations

   contained in ¶ 29 of Plaintiff’s Second Amended Complaint.

   30.     Defendants admit the allegations contained in ¶ 30 of Plaintiff’s Second

   Amended Complaint that Carl Edwards did not give Plaintiff a time card or a paycheck

   before she was employed by and on the payroll of his company. Defendants deny the

   remaining allegations contained in ¶ 30 of Plaintiff’s Second Amended Complaint.

   31.     Defendants deny the allegations contained in ¶ 31 of Plaintiff’s Second Amended

   Complaint.

   32.     Defendants have insufficient knowledge or information to admit or deny the

   allegations in ¶ 32 of Plaintiff’s Second Amended Complaint, and therefore deny the

   same.

   33.     Defendants admit the allegations contained in ¶ 33 of Plaintiff’s Second

   Amended Complaint that Plaintiff began working for Defendants in late May 2015 and
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   was put on the payroll at that time. Defendants deny the remaining allegations

   contained in ¶ 33 of Plaintiff’s Second Amended Complaint.

   34.   Defendants deny the allegations contained in ¶ 34 of Plaintiff’s Second Amended

   Complaint.

   35.   Defendants deny the allegations contained in ¶ 35 of Plaintiff’s Second Amended

   Complaint that Carl Edwards paid Plaintiff on exactly May 27, 2015 or that Mr. Edwards

   created Plaintiff’s timecard. Defendants admit the remaining allegations contained in ¶

   35 of Plaintiff’s Second Amended Complaint.

   36.   Defendants deny the allegations contained in ¶ 36 of Plaintiff’s Second Amended

   Complaint.

   37.   Defendants admit the allegations contained in ¶ 37 of Plaintiff’s Second

   Amended Complaint that Carl Edwards gave Plaintiff cash at various times and helped

   her purchase her house and may have told others this. Defendants deny the remaining

   allegations contained in ¶ 37 of Plaintiff’s Second Amended Complaint.

   38.   Defendants admit the allegations contained in ¶ 38 of Plaintiff’s Second

   Amended Complaint that Casper Trailer Sales, Inc. began paying Plaintiff through the

   payroll in late May 2015. Defendants deny the remaining allegations contained in ¶ 38

   of Plaintiff’s Second Amended Complaint.

   39.   Defendants deny the allegations contained in ¶ 39 of Plaintiff’s Second Amended

   Complaint.

   40.   Defendants deny the allegations contained in ¶ 40 of Plaintiff’s Second Amended

   Complaint.
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   41.   Defendants deny the allegations contained in ¶ 41 of Plaintiff’s Second Amended

   Complaint.

   42.   Defendants deny the allegations contained in ¶ 42 of Plaintiff’s Second Amended

   Complaint.

   43.   Defendants deny the allegations contained in ¶ 43 of Plaintiff’s Second Amended

   Complaint.

   44.   Defendants deny the allegations contained in ¶ 44 of Plaintiff’s Second Amended

   Complaint.

   45.   Defendants deny the allegations contained in ¶ 45 of Plaintiff’s Second Amended

   Complaint.

   46.   Defendants deny the allegations contained in ¶ 46 of Plaintiff’s Second Amended

   Complaint.

   47.   Defendants deny the allegations contained in ¶ 47 of Plaintiff’s Second Amended

   Complaint.

   48.   Defendants deny the allegations contained in ¶ 48 of Plaintiff’s Second Amended

   Complaint.

   49.   Defendants admit the allegations contained in ¶ 40 of Plaintiff’s Second

   Amended Complaint that Plaintiff terminated her employment. Defendants deny the

   remaining allegations contained in ¶ 49 of Plaintiff’s Second Amended Complaint.

   50.   Defendants deny the allegations contained in ¶ 50 of Plaintiff’s Second Amended

   Complaint.
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   51.      In response to allegations contained in ¶ 51 of Plaintiff’s Second Amended

   Complaint, Defendants incorporate their responses to ¶¶ 1 to 50 above as if fully

   restated herein.

   52.      Defendants deny the allegations contained in ¶ 52 of Plaintiff’s Second Amended

   Complaint.

   *52.2       Defendants deny the allegations contained in ¶ 52 of Plaintiff’s Second

   Amended Complaint.

   53.      Defendants deny the allegations contained in ¶ 53 of Plaintiff’s Second Amended

   Complaint.

   54.      Defendants deny the allegations contained in ¶ 54 of Plaintiff’s Second Amended

   Complaint.

   55.      In response to allegations contained in ¶ 55 of Plaintiff’s Second Amended

   Complaint, Defendants incorporate their responses to ¶¶ 1 to 54 above as if fully

   restated herein.

   56.      Defendants deny the allegations contained in ¶ 56 of Plaintiff’s Second Amended

   Complaint.

   57.      Defendants deny the allegations contained in ¶ 57 of Plaintiff’s Second Amended

   Complaint.

   58.      Defendants deny the allegations contained in ¶ 58 of Plaintiff’s Second Amended

   Complaint that Plaintiff has any unpaid wages, but admits that any wages of Plaintiff are

   earned, vested, and determinable.


   2
       Plaintiff’s Second Amended Complaint contains two number “52.”
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   59.    Defendants deny the allegations contained in ¶ 59 of Plaintiff’s Second Amended

   Complaint.

   60.    Defendants admits the allegations contained in ¶ 60 of Plaintiff’s Second

   Amended Complaint.

   61.    Defendants deny the allegations contained in ¶ 61 of Plaintiff’s Second Amended

   Complaint.

                                        GENERAL DENIAL

   Any allegation not specifically admitted herein is denied.

                                       SECOND DEFENSE
                                      (Affirmative Defenses)

   1.     Plaintiff fails to state a claim upon which relief may be granted.

   2.     Plaintiff’s relief is barred by the doctrine of payment.

   3.     Plaintiff’s relief is barred due to the applicable statutes of limitations.

   4.     Plaintiff has failed to plead sufficient facts regarding her claim of willful conduct.

   5.     Defendants are entitled to costs and attorney fees pursuant C.R.S. § 8-4-110 and

   Fed. R. Civ. P. 54(d).

   6.     Prior to May 2015 and after March 2016, Plaintiff was not an employee of

   Defendants.

   7.     Defendants fully and in good faith complied with state and federal wage and hour

   laws and requirements.

   8.     Plaintiff is not entitled to gap time pay.

   9.     Defendants lack knowledge of any hours Plaintiff worked that were not

   compensated.
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   10.    Plaintiff’s relief is barred by the statute of frauds, C.R.S. § 38-10-108.

   11.    Plaintiff failed to mitigate her damages.

   12.    Plaintiff’s relief is barred by the doctrines of res judicata and collateral estoppel.

   13.    Plaintiff’s relief is barred by equitable estoppel.

   14.    Plaintiff’s claims are devoid of factual support and/or have no basis in law; the

   primary purpose of such claims is to harass the Defendants or to effectuate some other

   improper objective; and this activity adversely affects the legal interest of Defendants.

   15.    Defendants reserve the right to add and/or assert additional defenses, which may

   become known through the course of this action.

          WHEREFORE, for all of these reasons, Defendants respectfully request that this

   Court dismiss the Complaint with prejudice, award Defendants costs and reasonable

   attorney fees as provided by law or agreement, and grant such other and further relief

   as this Court deems appropriate.



          Respectfully submitted this 14 day of December, 2017.

                                                      GODFREY | JOHNSON, P.C.

                                                      /s/Lily E. Nierenberg
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                              CERTIFICATE OF SERVICE

   The undersigned certifies that on December 14, 2017, a true and correct copy of the
   foregoing DEFENDANTS’ ANSWER TO SECOND AMENDED COMPLAINT AND
   JURY DEMAND was filed and served via ECF/PACER on all parties of record, as
   follows:

   Donna Dell’Olio
   Cornish & Dell’Olio
   431 N. Cascade Avenue, Suite 1
   Colorado Springs, CO 80903

                                               GODFREY | JOHNSON, P.C.

                                               /s/Lily E. Nierenberg
                                               Lily E. Nierenberg
